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                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                   IN THE UNITED STATED BANKRUPTCY COURT                                   July 01, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                                           §
                                                 §       CASE NO: 23-31447
PALASOTA CONTRACTING, LLC,                       §
                                                 §
         Debtor.                                 §
                                                 §
                                                 §       CHAPTER 11

                                       FINAL DECREE

        Pending before the Court is Debtor’s Motion for Final Decree, requesting that the Court
close the above referenced case in accordance with 11 U.S.C. § 350(a) and Fed. R. Bankr. P. 3022.
ECF No. 245 (the “Motion”). The Court finds that the estate of the Debtor has been fully
administered and that the plan is substantially consummated. Considering the Motion, all
arguments and/or any objections filed and any declarations in support of the Motion, this Court
hereby finds that the Effective Date has occurred, initial plan payments have been made, and the
Motion has merit. It is therefore:

       ORDERED that:
   1. the Motion, ECF No. 245, is hereby GRANTED;
   2. this case is CLOSED.
   3. The Debtor, no later than fourteen (14) days after entry of this Order, shall file with the
      Clerk of the United States Bankruptcy Court operating reports and statements of
      disbursements made during each calendar quarter during the period from <Start Date>,
      through the date of entry of this Order, and shall serve a true and correct copy of said
      operating reports and statements on the United States Trustee.
   4. The Debtor, no later than fourteen (14) days after entry of this Order, shall pay the
      appropriate sum of quarterly fees due and payable under 28 U.S.C. § 1930(a)(6) by
      remitting payment to the United States Trustee Payment Center, P. O. Box 6200-19,
      Portland, Oregon, 97228-6200, and shall furnish evidence of such payment to the United
      States Trustee, 515 Rusk, Suite 3516, Houston, Texas. The payment shall reflect the
      Debtor’s account number and shall be transmitted with a “Chapter 11 Quarterly
      Disbursement and Fee Report” available from the United States Trustee. This Court shall
      retain jurisdiction to enforce payment of fees assessed under 28 U.S.C. § 1930(a)(6).
   5. All professionals shall, no later than fourteen (14) days after entry of this Order, file with
      the Court an application for professional fees under 11 U.S.C. § 330.
   6. Notwithstanding this Order, the Court retains jurisdiction to consider professional fee
      applications and to enforce payment of fees assessed under 28 U.S.C. § 586, and the Court
      shall retain jurisdiction over administration of the following adversary proceedings:
          a. a. Palasota Contracting, LLC v White Rock Excavating, Inc., Adversary No. 23-
              03187 (“White Rock Adversary”);
          b. b. Palasota Contracting, LLC v JC Wall, Individually and BK Home Development
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     Inc., Adversary No. 23-03188 (“BK Wall Adversary”);
  c. c. Palasota Contracting, LLC v Kolby Construction, LLC, Clay Kolby and Darsh
     Enterprise, Inc., Adversary No. 23-03236 (“Kolby Adversary”)

SIGNED July 1, 2024


                                          ________________________________
                                                  Eduardo V. Rodriguez
                                           Chief United States Bankruptcy Judge
